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                                                                             2018 Jun-08 PM 03:21
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                          NORTHEASTERN


JACK ALEXANDER,                            }
                                           }
      Plaintiff,                           }
                                           }
v.                                         }   Case No.: 5:17-cv-01285-MHH
                                           }
TRANSUNION LLC, et al.,                    }
                                           }
      Defendants.                          }


                                      ORDER

      Plaintiff Jack Alexander and Defendant Ditech Financial LLC have filed a

joint stipulation of pro tanto dismissal with prejudice. (Doc. 22). The Court

ORDERS that the plaintiff’s claims against Ditech Financial LLC are

DISMISSED WITH PREJUDICE. Costs taxed as paid. This dismissal does not

affect any of the plaintiff’s other remaining claims.

      DONE and ORDERED this June 8, 2018.


                                     _________________________________
                                     MADELINE HUGHES HAIKALA
                                     UNITED STATES DISTRICT JUDGE
